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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                               )
 UNITED STATES OF AMERICA                      )
                                               ) No. 14 CR 287-4
               v.                              )
                                               ) Judge Norgle
 ASIF A. ASLAM                                 )

                                  NOTICE OF MOTION

       PLEASE TAKE NOTICE that on October 5, 2018, at 9:30 a.m., or as soon thereafter as

counsel may be heard, I will appear before Judge Norgle in the courtroom usually occupied by

him in the Dirksen Federal Courthouse, 219 South Dearborn Street, Chicago, Illinois, or before

such other judge who may be sitting in his place and stead, and then and there present the

GOVERNMENT’S MOTION TO SET SENTENCING DATE FOR DEFENDANT ASIF A.

ASLAM, at which time and place you may appear, if you see fit.

                                           Respectfully submitted,

                                           JOHN R. LAUSCH, Jr.
                                           United States Attorney

                                           By: s/ Sarah J. North
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